     Case 2:17-cr-00547-MWF Document 35-1 Filed 02/23/18 Page 1 of 3 Page ID #:116



1    NICOLA T. HANNA
     United States Attorney
2    LAWRENCE S. MIDDLETON
     Assistant United States Attorney
3    Chief, Criminal Division
     KERRY L. QUINN (Cal. Bar No. 302954)
4    Assistant United States Attorney
     Major Frauds Section
5         1100 United States Courthouse
          312 North Spring Street
6         Los Angeles, California 90012
          Telephone: (213) 894-5423
7         Facsimile: (213) 894-6269
          E-mail:    Kerry.L.Quinn@usdoj.gov
8
     Attorneys for Plaintiff
9    UNITED STATES OF AMERICA

10                           UNITED STATES DISTRICT COURT

11                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,                No. CR 17-547-MWF

13              Plaintiff,                    [PROPOSED] ORDER CONTINUING TRIAL
                                              DATE AND FINDINGS REGARDING
14                    v.                      EXCLUDABLE TIME PERIODS PURSUANT
                                              TO SPEEDY TRIAL ACT
15   JASON NEWLING,
                                              [PROPOSED] TRIAL DATE: 08/07/2018
16              Defendant.                    [PROPOSED] STATUS CONF: 07/30/2018
17

18         The Court has read and considered the Stipulation Regarding
19   Request for (1) Continuance of Trial Date and (2) Findings of
20   Excludable Time Periods Pursuant to Speedy Trial Act, filed by the
21   parties in this matter on February 23, 2018.          The Court hereby finds
22   that the Stipulation, which this Court incorporates by reference into
23   this Order, demonstrates facts that support a continuance of the
24   trial date in this matter, and provides good cause for a finding of
25   excludable time pursuant to the Speedy Trial Act, 18 U.S.C. § 3161.
26         The Court further finds that:       (i) the ends of justice served by
27   the continuance outweigh the best interest of the public and
28   defendant in a speedy trial; (ii) failure to grant the continuance
     Case 2:17-cr-00547-MWF Document 35-1 Filed 02/23/18 Page 2 of 3 Page ID #:117



1    would be likely to make a continuation of the proceeding impossible,

2    or result in a miscarriage of justice; and (iii) failure to grant the

3    continuance would unreasonably deny defendant continuity of counsel

4    and would deny defense counsel the reasonable time necessary for

5    effective preparation, taking into account the exercise of due

6    diligence.

7          THEREFORE, FOR GOOD CAUSE SHOWN:

8          1.    The trial in this matter is continued from March 6, 2018 to

9    August 7, 2018, and a status conference is scheduled for July 30,

10   2018.

11         2.    The time period of March 6, 2018 to August 7, 2018,

12   inclusive, is excluded in computing the time within which the trial

13   must commence, pursuant to 18 U.S.C. §§ 3161(h)(7)(A), (h)(7)(B)(i),

14   and (B)(iv).

15         3.    Defendant shall appear in Courtroom 5A of the First Street

16   Courthouse, 350 West First Street, Los Angeles, California 90012 on

17   August 7, 2018 at 8:30 am.

18         4.    Nothing in this Order shall preclude a finding that other

19   provisions of the Speedy Trial Act dictate that additional time

20   periods are excluded from the period within which trial must

21   commence.    Moreover, the same provisions and/or other provisions of

22   the Speedy Trial Act may in the future authorize the exclusion of

23   //

24   //

25   //

26   //

27   //

28

                                           2
     Case 2:17-cr-00547-MWF Document 35-1 Filed 02/23/18 Page 3 of 3 Page ID #:118



1    additional time periods from the period within which trial must

2    commence.

3          IT IS SO ORDERED.

4

5
       DATE                                    HONORABLE MICHAEL W. FITZGERALD
6                                              UNITED STATES DISTRICT JUDGE
7

8

9    Presented by:
10        /s/
      KERRY L. QUINN
11    Assistant United States Attorney
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                           3
